       Case 1:19-cv-00622-CCC Document 135 Filed 03/30/23 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL                  :
FOUNDATION,                                :
                                           :
                  Plaintiff,               :
                                           :
             v.                            :     NO. 1:19-CV-00622
                                           :
AL SCHMIDT, Acting                         :     CHIEF JUDGE CONNER
Secretary of the Commonwealth of           :
Pennsylvania, and JONATHAN M.              :     ELECTRONICALLY FILED
MARKS, Deputy Secretary for                :
Elections and Commissions,                 :
                                           :
                  Defendants.              :

                        NOTICE OF CROSS APPEAL

      The PUBLIC INTEREST LEGAL FOUNDATION appeals to the United

States Court of Appeals for the Third Circuit from the final judgment entered on

March 31, 2022 (ECF 85) as clarified by the order entered on February 28, 2023

(ECF 133).

                                    Respectfully submitted,

                                    /s/ Linda A. Kerns
                                    Linda A. Kerns
                                    Counsel for Plaintiffs,
                                    The Public Interest Legal Foundation
Dated: March 30, 2023
                                    Law Offices of Linda A. Kerns, LLC
                                    1420 Locust Street, Suite 200
                                    Philadelphia, PA 19102
                                    (215) 731-1400
       Case 1:19-cv-00622-CCC Document 135 Filed 03/30/23 Page 2 of 2




                         CERTIFICATE OF SERVICE


      I, Linda A. Kerns, hereby certifies that a true and correct copy of the foregoing

Notice of Cross Appeal was served upon the following counsel of record via the

Court’s ECF system on this 30th day of March 2023:


                          Daniel T. Brier
                          Donna A. Walsh
                          Myers, Brier & Kelly, LLP
                          425 Biden Street, Suite 200
                          Scranton, PA 18503



                                       /s/ Linda A. Kerns
                                       Linda A. Kerns




                                          2
